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Exhibit 73 |
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CERTIFIED COPY

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

In Re: CATHODE RAY TUBE Master File No.
(CRT) ANTITRUST LITIGATION, 3:07-av-05944 SC

MDL NO. 1917

This Document Relates to:

ALL INDIRECT PURCHASER

ACTIONS
DEPOSITION OF PATRICIA ANDREWS
November 7, 2012
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A. No.

Q. So you couldn't say which Toshiba
entity manufactured your television?

A. No.

Q. So for ease of reference during the
remainder of the deposition I'm going to refer
to your TV generally as the Toshiba television,
but you don't know which Toshiba entity

manufactured or sold your television; is that

correct?
. A. I don't recall.

Q. Does your Toshiba television contain
a CRT?

A Yes.

Q. And how do you know that?

A I saw it.

Q. Okay. So you've opened the product

to confirm that it contains a CRT?

A. Yes.

Q. And you did that personally?

A. No.

QO. You had someone do that?

A. Yes.

Q. And who did you have do that for

you?

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A. My attorney, Mr. Wyatt, sent someone
to do that.
QO. Do you know who manufactured the CRT

inside of the Toshiba television?

A. I don't know who the manufacturer is
specifically.
Q. Okay. Do you know where that CRT

was manufactured?

A. No.

Q. Do you know where that CRT was first
sold?

A. No.

Q. Do you know the dimensions of your

Toshiba television?

A. 27-inch.

Q. And do you know the dimensions of
the CRT inside that Toshiba television?

A. No.

Q. Is your Toshiba television

high-definition; do you know?

A. I don't know.

Q. Is it a color television?

A. Yes.

Q. And was the Toshiba television new

when you purchased it?

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